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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
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                               April 11, 2023


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      No. 23-10362       Alliance Hippocratic Medicine v. FDA
                         USDC No. 2:22-CV-223


Dear Counsel:
This letter will serve to advise you that the court has requested
a Reply to the Appellants’ Motions for stay pending appeal and
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stay order to be filed in this office on or before April 12, 2023,
by 12:00 p.m.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk



                                   By: _________________________
                                   Mary Frances Yeager, Deputy Clerk
                                   504-310-7686
cc:   Mr.   Erik Baptist
      Ms.   Julie Marie Blake
      Ms.   Denise Harle
      Mr.   Christian D. Stewart
      Ms.   Grace Zhou
